                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

VINCENT E. SMITH, #R11677,                               )
                                                         )
                                    Plaintiff,           )
                                                         )
vs.                                                      )      Case No. 16-cv-00745-MJR
                                                         )
JOHN DOE 1, JOHN DOE 2,                                  )
JOHN COE, MARTIN PHILLIPS, 1                             )
ANNE TREDWAY, STEVE DUNCAN,                              )
and LORIE CUNNINGHAM,                                    )
                                                         )
                                    Defendants.          )

                                  MEMORANDUM AND ORDER
REAGAN, Chief District Judge:

         Plaintiff    Vincent      E.    Smith,     an    inmate      who     is    currently     incarcerated      at

Lawrence Correctional Center (“Lawrence”), brings this pro se action for alleged violations of

his constitutional rights under 42 U.S.C. § 1983 (Doc. 1). He alleges that the conduct giving rise

to his claims occurred at Lawrence. Smith’s claims appear to potentially stem from two distinct

issues—a beating by prison guards, and deliberate indifference to a medical condition. Smith

makes numerous claims in relation to these two issues, all falling within the Eighth and

Fourteenth Amendments. In connection with these claims, he names John Doe 1 (orange crush

officer), John Doe 2 (orange crush officer), John Coe (doctor), Martin Phillips (health care

administrator), Anne Tredway (assistant warden), Steve Duncan (warden), and Lorie

Cunningham (health care director of nursing). Plaintiff seeks both monetary compensation, and

injunctive relief ordering the prison to provide him with adequate medical care.

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 In the list of defendants section of the Complaint, the Plaintiff identifies “Defendant Phillips” as the health care
administrator at Lawrence. He also makes a single mention of “Defendant Phillips in the body of the Complaint.
However, in the body of the complaint the Plaintiff also states a claim against “Phillip Shicker,” an individual who is
not listed in the list of defendants or the caption. Based on the information available, the Court is treating
“Defendant Phillips” as distinct from “Phillip Shicker.”

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       This case is now before the Court for a preliminary review of the Complaint pursuant to

28 U.S.C. § 1915A. Under Section 1915A, the Court is required to promptly screen prisoner

Complaints to filter out nonmeritorious claims. 28 U.S.C. § 1915A(a). The Court is required to

dismiss any portion of the Complaint that is legally frivolous, malicious, fails to state a claim

upon which relief may be granted, or asks for money damages from a defendant who by law is

immune from such relief. 28 U.S.C. § 1915A(b).

       As a part of screening, the Court is also allowed to sever unrelated claims against

different defendants into separate lawsuits. In George v. Smith, the Seventh Circuit emphasized

that the practice of serverance is important, “not only to prevent the sort of morass” produced by

multi-claim, multi-defendant suits “but also to ensure that prisoners pay the required filing fees”

under the Prison Litigation Reform Act. George, 507 F.3d 605, 607 (7th Cir. 2007). Severed

counts will be divided into new actions, given new case numbers, and assessed filing fees.

                                           The Complaint

       The Plaintiff alleges that in July 2014, John Doe 1, an officer participating on an orange

crush tactical team, came to his cell and began beating him (Doc. 1 at 6). John Doe 1 slammed

the Plaintiff’s head into the concrete wall multiple times (Id.). Meanwhile, John Doe 2 merely

looked on and failed to attempt to stop the abuse (Id.). After the assault, Plaintiff was given ice

for the lump on his head and accompanying headache (Id. at 7). Plaintiff alleges in his complaint

that, prior to the assault, he never had head pain (Id.).

       He subsequently visited the medical unit on numerous occasions to treat head pain and

vision issues (Id. at 7-11). Initially, in September 2014, a doctor opined that the head pain could

be caused by an ingrown hair (Id. at 7). Plaintiff grieved this diagnosis because he felt it was




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incorrect (Id.). In September 2014, he experienced head pain, dizziness, blurry vision, and

pressure in his head and chest, for which he pressed the emergency button in his cell (Id.).

       According to the Complaint, in October 2014, Plaintiff saw Defendant Doctor Coe and

informed him that he was suffering head pain as a result of John Doe 1’s assault (Id. at 7-8).

Plaintiff alleges that Coe’s ongoing course of treatment for his head pain was unsuccessful (Doc.

1 at 9-11). He saw Coe on numerous occasions for pain and pressure in his head, as well as

accompanying vision impairment (Id.). Coe investigated the symptoms by pressing on the side of

Plaintiff’s head and face and by shinning a light in his eyes on multiple occasions (Id.). Each

time, Coe stated that the head pain was likely the result of a swollen artery in the Plaintiff’s head

(Id.). Coe attempted to triage the condition by prescribing a variety of medications, which

Plaintiff continued to report were not working (Id.). On one visit, Coe told Plaintiff that due to

budget he could not organize an MRI or other examination, but that once the Plaintiff was out of

custody he should seek a functional MRI—the only way to apparently detect the underlying

problem (Doc. 1-1 at 25-26). Coe indicated that absent such a scan, the best he could do was to

provide relief from the symptoms with medication (Id.). Coe then asked the Plaintiff what type

of medication he would like (Id.). At some points, the course of treatment included medication

and a permit to have ice packs for his head (Doc. 1 at 9-11). Plaintiff mentioned that Coe

recorded incorrect information in his medical record, and that he sought to correct it (Id. at 7-8).

       Plaintiff alleges that Defendant Duncan was aware of the lack of proper care he was

receiving via written grievances and a verbal conversation (Id. at 7, 10). Despite being on notice

of the ongoing issue, Duncan did not take any actions to ensure that the Plaintiff received more

comprehensive care (Id.). Likewise, Defendant Cunningham was aware of the lack of adequate

care because Plaintiff filed a written grievance directed to her (Id. at 10). However, she did not



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respond (Id.). Plaintiff verbally notified Defendant Tredway of his medical issues and Tredway

averred that she would look in to the problem, but Plaintiff opined that no action was ever taken

(Id. at 11).

        Plaintiff also alleges that he sent a written grievance to Phillip Shicker, the Illinois

Department of Corrections (“IDOC”) medical director, but received no response (Id.). Further,

he submitted grievances seeking the names of John Doe 1 and John Doe 2, but was denied access

to that information (Id.).

                                            Discussion

        Based on the allegations, the Court finds it convenient to divide the pro se Complaint into

the following enumerated claims. The parties and the Court will use these designations in all

future pleadings and orders, unless otherwise directed by a judicial officer of this Court. The

designation of these counts does not constitute an opinion regarding their merit.

        Count 1:        Eighth Amendment excessive force claim against Defendant John
                        Doe 1 for assaulting Plaintiff during an Orange Crush detail;

        Count 2:        Eighth Amendment failure to intervene claim against Defendant
                        John Doe 2 for failing to intervene or stop John Doe 1 from
                        assaulting the Plaintiff;


        Count 3:        Eighth Amendment deliberate indifference to a serious medical
                        condition claim against Duncan for failing to take action in
                        response to Plaintiff’s written and verbal complaints that his head
                        pain was not being adequately treated;

        Count 4:        Eighth Amendment deliberate indifference for failure to treat a
                        serious medical condition claim against Coe for pursuing a course
                        of treatment he knew was ineffective and for declining access to
                        treatment he opined would be effective in identifying the cause of
                        Plaintiff’s head pain;

        Count 5:        Eighth Amendment deliberate indifference claim against
                        Cunningham for failing to address Plaintiff’s written grievance



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                        about the adequacy of medical care he was receiving for his head
                        pain;

        Count 6:        Eighth Amendment deliberate indifference claim against Tredway
                        for failing to follow through on a verbal promise to look into the
                        adequacy of medical care being provided for Plaintiff’s head pain;
                        and,

        Count 7:        Eighth and Fourteenth Amendment claims against Phillip Shicker
                        for failing to respond to Plaintiff’s written grievance about the
                        adequacy of the care he was receiving for his head pain.

        Here the Plaintiff has brought two potentially distinct sets of claims—one for the

excessive force incident, and one for a pattern of deliberate indifference to his serious medical

condition of chronic head pain. As discussed above, at the screening stage, the Court possesses

the authority to sever unrelated claims against separate defendants into separate cases. George,

507 F.3d at 607. The Plaintiff has made an express effort to intertwine the two sets of claims by

alleging in his Complaint that he did not suffer head pain until the July 2014 excessive force

incident. However, information contained in the grievances he appended to his Complaint

directly refutes his efforts to intertwine his claims.

        The Seventh Circuit has held that where an exhibit contradicts information alleged in a

complaint, the exhibit controls. Phillips v. Prudential Ins. Co. of Am., 714 F.3d 1017, 1020 (7th

Cir. 2013). Here, Plaintiff alleges in the Complaint that his head pain started only after the

assault by John Doe 1, and that he reported the excessive force incident as the cause of his head

pain. Although it would make sense to have head pain if his head was in fact slammed into the

wall, Plaintiff’s grievances and the dates upon which he sought medical care actually suggest

that unfortunately he suffered from chronic head pain prior to the excessive force incident. The

timeline of events is a bit confusing and convoluted, but it is necessary to recount it here to

understand why severance is appropriate.



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       Based upon the Court’s reading of the record, the timeline is as follows: on January 4,

2014, Plaintiff attended a ‘three-year-check-up’ at the medical unit and he reported intense

pressure headaches (Doc. 1-1 at 2); in July 2014 the Plaintiff alleges that he was assaulted by

John Doe 1 (Doc. 1 at 6); on the day of the assault, Plaintiff reported being given ice for his head

(Id. at 7); on September 17, 2014, Plaintiff began an ongoing series of grievances targeted at

treating his chronic head pain (Doc. 1-1 at 2). It is not entirely clear what motivated Plaintiff to

begin the campaign of grievances in September 2014, though his initial grievance suggests that

he was generally fearful of insufficient medical care at the facility, which he alleged had led to a

number of recent deaths of fellow inmates (Id).

       The series of grievances and excerpts of medical records appended to the Complaint

indicate that Plaintiff reported chronic head pain during his three-year-check-up in January 2014

and that from September 2014 onward, Plaintiff was frequently seen by medical care to address

his head pain. Initially in September 2014, a doctor diagnosed the cause of the head pain as an

ingrown hair and apparently told the Plaintiff that the pain could not be the result of the fact that

he was struck in the head by a bat over 12 years ago (Id. at 2-3). Subsequently, in October 2014,

Defendant Coe diagnosed the head pain as the potential side effect of an inflamed artery (Id. at 8-

9). Following the diagnosis, Plaintiff returned to Coe numerous times and was given a variety of

medications and medical passes for ice in an attempt to treat the pain (Id. at 10-21).

       For whatever reason, in April 2015 the Plaintiff apparently had an opportunity to review

his own medical records. Upon doing so, he filed a grievance stating that Coe had falsely written

in his medical records that he reported being in a fight in January as a potential contributing

factor to his head pain (Id. at 22). Plaintiff sought to have his medical records corrected to say

that he told Coe “that MAYBE the injury to his head could have come from an old sport injury



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or MAYBE from an old fight when he was a kid as stated in grievance of 9/17/14 with a bat!”

(Id. at 22). After he filed the grievance seeking a correction to his record, Plaintiff was

apparently called to the medical unit in June 2015 where Coe confronted him about the request to

correct his record (Id. at 23-24). In a grievance about the June 2015 visit with Coe, Plaintiff

alleged that he also verbally asked Coe why Coe did not note in the medical record that the head

pain could also have been caused by the excessive force incident with Orange Crush (Id.). Coe

apparently ignored the question and prescribed more medication (Id.).

        On June 26, 2015, Plaintiff was again seen by Coe, who told him that the only way to

truly diagnose his symptoms would be a functional MRI (Id. at 25-26). Coe also told the Plaintiff

that an MRI would cost too much, but that when he got out of prison he should seek one (Id.).

Coe concluded by asking Plaintiff what medication he wanted to treat the pain (Id.).

        In addition to the grievances, Plaintiff appended Offender Request Forms from

November 2014 onward reflecting his requests to Coe, Duncan and Cunningham for medical

care (Id. at 29-39).

        Plaintiff also appended an affidavit that he prepared in November 2015 documenting his

quest for medical care (Id. 1-1 at 27). In his affidavit, Plaintiff mentions talking to Coe about the

potential sources of his head pain—from an old sport injury or a past fight (Id.).

        Despite Plaintiff’s assertions in his Complaint that the excessive force incident caused his

head pain, his grievances tell another story. The excessive force incident took place in July 2014,

but a grievance says that he had first reported head pain to the medical unit at his three-year-

check-up in January 2014. Though the excessive force incident took place in July, Plaintiff did

not actively begin grieving his medical situation until September 2014. At multiple times during

his campaign of grievances, he appears to tell prison authorities and Coe that the sole potential



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causes of his head pain were a prior sports injury or a childhood fight involving a baseball bat. In

a single grievance, Plaintiff attempts to say that he also asked Coe why Coe did not record the

excessive force incident as a potential cause of his head pain, but this assertion seems

disingenuine. The Orange Crush assertion is sandwiched in time by an April 2015 grievance and

a November 2015 affidavit wherein Plaintiff stated that the only potential causes of his head pain

were the sports injury or the childhood fight. Thus, the bulk of the evidence belies the Plaintiff’s

assertions in his Complaint that the Orange Crush incident caused his chronic head pain.

       If the head pain only started after the excessive force incident, Plaintiff would have

logically sought to have the medical records reflect that when he sought a correction in April

2015. But instead, he sought only to have the records reflect that the potential sources of his

injury were an old sports injury or a childhood fight. Additionally, if the pain began with the July

2014 assault, it is not clear why the Plaintiff waited until September 2014 to start an active

campaign for more medical care. In light of these contradictions, the grievances can fairly be

interpreted to reveal a course of chronic head pain that medical providers identified as associated

with a swollen artery. No information suggests that the swollen artery was the result of a head

trauma. The bulk of the evidence at this juncture tends to suggest that the assault and the

treatment for a swollen artery were distinct issues. Even if the issues are connected, the Plaintiff

is not done a great injustice by severance of the claims. He will still be allowed to pursue all of

his claims—albeit in two cases, instead of one.

       Consistent with the George decision and Federal Rule of Civil Procedure 21, the Court

shall sever the claims in Counts Three through Seven (which are unrelated to Counts One and

Two) into a separate action. The separate action will have a newly assigned case number, and it




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shall be assessed a filing fee. The severed case shall undergo preliminary review pursuant to §

1915A after the new case number and judge assignment has been made.

       Counts One and Two shall remain in this action. A separate order shall be issued in this

case to review the merits of these claims. Plaintiff shall be provided with a copy of the merits

order as soon as it is entered. No service shall be ordered on any defendant at this time.

                                            Disposition

       IT IS HEREBY ORDERED that Plaintiff’s claims in COUNTS THREE THROUGH

SEVEN, which are unrelated to the claims in COUNTS ONE AND TWO, are SEVERED into

a new case against Defendants COE, PHILLIP, TREDWAY, DUNCAN, and

CUNNINGHAM.

       The claims in the newly severed case shall be subject to merits review pursuant to 28

U.S.C. § 1915A after the new case number and judge assignment is made. In the new case, the

Clerk is DIRECTED to file the following documents:

   •   This Memorandum and Order;
   •   The Complaint (Doc. 1);
   •   Plaintiff’s motion to proceed in forma pauperis (Doc. 2);
   •   Additionally, the Clerk is DIRECTED to ADD Defendant PHILLIP SHICKER to the
       list of named defendants in the newly created case. Plaintiff mentions SHICKER in the
       body of the Complaint, so adding him to the list of Defendants will allow the Court to
       address this orphan claim by the Plaintiff.

       Plaintiff will be responsible for an additional $350 filing fee in the newly severed case.

No service shall be ordered in the severed case until the § 1915A review is completed.

       IT IS FURTHER ORDERED that the only claims remaining in this action are Counts

One and Two against Defendants John Doe 1 and John Doe 2.

       IT IS FURTHER ORDERED that Defendants COE, PHILLIP, TREDWAY,

DUNCAN, and CUNNINGHAM are TERMINATED from this action with prejudice.



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IT IS SO ORDERED.

DATED: August 12, 2016
                                         s/ MICHAEL J. REAGAN
                                         U.S. District Judge




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